                                         UNITED STATES DISTRICT COURT
     Reset Form                          WESTERN DISTRICT OF MISSOURI

                                         CRIMINAL CASE COVER SHEET
County of Offense / Division of Filing                                               Matter to be Sealed
                                                                                        Secret Indictment
Jackson / Western
                                                                                        Juvenile
Defendant Information
Defendant Name:            Rodney O. Ellison

Alias Name:

Birth Date:                09/30/1967
Related Case Information
Superseding Indictment?            Yes     ■   No If yes, original case number:
New Defendant(s)?             ■    Yes         No
Prior Complaint Case Number, if any:       24-MJ-00162-JAM

Prior Target Letter Case Number, if any:
U.S. Attorney Information
AUSA Green, D. Michael

Interpreter Needed?
    Yes    Language and/or Dialect:
■   No

Location Status
Arrest Date:
■   Currently in Federal Custody                                                    Writ Required?             Yes         ■   No
    Currently in State Custody                                                                                 Yes         ■   No
                                                                                    Warrant Required?
    Currently on Bond

U.S.C. Citations
Total # of Counts                 9

     Set                       Index Key & Description of Offense Charged                                   Count(s)

      1        18:933.F CONSPIRACY TO TRAFFIC FIREARMS                                                         1

      2        18:923.F ENGAGING IN FIREARM SALES WITHOUT A LICENSE                                            2

      3        18:933A.F TRAFFICKING FIREARMS                                                         3, 5, 6, 7, 8 & 10

      4        18:922G.F FELON IN POSSESSION OF A FIREARM                                                     11



                                                    (May be continued on reverse)                             revised: 12/02/2024
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Set                   Index Key & Description of Offense Charged                         Count(s)


5     18:934.F FORFEITURE                                                                    FA1


6     18:924D.F SEIZURE, FORFEITURE AND DISPOSITION OF FIREARM                               FA2


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